
In re State of Louisiana; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. B, No. 08-95-1446; to the Court of Appeal, First Circuit, No. 2009 KW 0470.
Granted. The district’s court ruling setting relator’s motion for reconsideration of sentence for a hearing is vacated and the court’s sentence of 50 years imprisonment at hard labor, imposed in 1996, is reinstated. Although filed timely, see La.C.Cr.P. art. 881.1, relator abandoned his motion for reconsideration of sentence when he failed to move for a hearing date for over 12 years. See, e.g., State v. Wagster, 361 So.2d 849, 856 (La.1978) (“[I]t is ordinarily incumbent upon the proponent of a motion to move for a hearing date on that motion. Otherwise it may be considered that the motion has been abandoned.”).
WEIMER, J., would deny.
